UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
______________________________________
In Re:                                                       ORDER
                                                             Case No.: 18-72852-reg
Doreen Hoffman                                               (Chapter 11)

                Debtor.                                      Assigned to:
______________________________________                       Hon. Robert E. Grossman
                                                             Bankruptcy Judge

         Rushmore Loan Management Services, LLC as servicing agent for U.S. Bank, National Association as

Legal Title Trustee for Truman 2013 SC3 Title Trust, a secured creditor of Debtor, ("Secured Creditor") having

moved this Court for an Order modifying the Automatic Stay in this proceeding by permitting said Secured Creditor

to foreclose on the mortgage of premises commonly known as 163 Roe Avenue, East Patchogue, NY 11772-5739,

of which the Debtor is the owner of record, and

         The motion having come to be heard before this Court and no opposition having been submitted by the

Chapter 11 Trustee, by the U.S. Trustee, or by John Fazzio, Esq., Counsel for the Debtor, and due deliberation

having been had, now

         Upon Reading and Filing of the Notice of Motion, the Application of Secured Creditor dated 18th day of

July, 2018, and proof of service upon all necessary parties, upon motion of the Office of Gross Polowy, LLC, it is

hereby

         ORDERED, that as to the Secured Creditor or its successors or assigns, the automatic stay is terminated,

permitting it to foreclose or otherwise pursue its mortgage remedies and rights on the premises commonly known

as 163 Roe Avenue, East Patchogue, NY 11772-5739; and it is further

         ORDERED, that the Trustee retain any and all interest that said Trustee may have in any surplus monies

that may be produced from a foreclosure sale of the property, and will be noticed of any such sale of the property

and surplus money proceedings.




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     Dated: Central Islip, New York                                         Robert E. Grossman
            February 28, 2019                                          United States Bankruptcy Judge
